
Froessel, J. (concurring).
I concur in the opinion of Judge Van- Voorhis, and for the reason that the Superintendent is *258quite evidently attempting to use the condemnation statute as an authorization to exercise the State’s inherent police power to forbid signs, despite unsuccessful efforts to obtain appropriate legislation.
Judges Fuld and Foster concur with Judge Van Voorhis; Judge Froessel concurs in a separate opinion; Chief Judge Desmond and Judges Dye and Burke dissent and vote to affirm for the reasons stated in the opinion of Presiding Justice Bergan in the Appellate Division.
Judgment reversed, with costs, and the order of the County Court reinstated.
